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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

DENNIS TOOLEY,                      )
an Individual,                      )
                                    )                CASE NO.:
              Plaintiff,            )
vs.                                 )
                                    )
GLP CAPITAL, L.P.,                  )
a Pennsylvania Limited Partnership, )
                                    )
                                    )
              Defendant.            )
____________________________________)

                                          COMPLAINT

        Plaintiff, DENNIS TOOLEY through his undersigned counsel, hereby files this

Complaint and sues GLP CAPITAL, L.P., a Pennsylvania Limited Partnership for injunctive

relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq., (“AMERICANS WITH

DISABILITIES ACT” or “ADA”) and alleges:

                                JURISDICTION AND PARTIES

1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

        Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as

        the “ADA”).      This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§

        1331 and 1343.

2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and E.D.Mo. L.R. 3 - 2.07.

3.      Plaintiff, DENNIS TOOLEY (hereinafter referred to as “MR. TOOLEY”), is a resident

        of the State of Indiana in Johnson County.

4.      Plaintiff, MR. TOOLEY, is a qualified individual with a disability under the ADA. MR.


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         TOOLEY suffers from Multiple Sclerosis, which causes severe nerve damage and affects

         his ability to walk and stand.

5.       Due to his disability, Plaintiff MR. TOOLEY is substantially impaired in several major

         life activities and requires the use of mobility aids including a wheelchair, walker and/or

         a cane depending on his level of pain and fatigue on a daily basis.

6.       Defendant, GLP CAPITAL, L.P., a Pennsylvania Limited Partnership, (hereinafter

         referred to as “DEFENDANT”), is registered to do business in the State of Missouri.

         Upon information and belief, GLP CAPITAL, L.P., is the owner, lessee, and/or operator

         of the real property and improvements which are the subject of this action, to wit: the

         Property, Hollywood Casino St. Louis, generally located at 777 Casino Center Dr.,

         Maryland Heights, MO 63043.          Defendant is responsible for complying with the

         obligations of the ADA.

7.       All events giving rise to this lawsuit occurred in the Eastern District of Missouri, Saint

         Louis County, Missouri.

                        COUNT I - VIOLATION OF TITLE III OF THE
                          AMERICANS WITH DISABILITIES ACT

8.       Plaintiff realleges and reavers Paragraphs 1-7 as if they were expressly restated herein.

9.       The Property, a hotel and casino, is open to the public and provides goods and services to

         the public.

10.      Plaintiff MR. TOOLEY has visited the Property, generally located at 777 Casino Center

         Dr., Maryland Heights, MO 63043 and attempted to utilize the facilities offered at the

         Property.




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11.      While at the property, MR. TOOLEY experienced serious difficulty accessing the goods

         and utilizing the services therein due to the architectural barriers discussed herein in

         paragraph 14 of this Complaint.

12.      MR. TOOLEY continues to desire to visit the Property, but fears that he will continue to

         experience serious difficulty due to the barriers discussed in paragraph 14 which still

         exist.

13.      MR. TOOLEY plans to and will visit the property in the near future to utilize the goods

         and services offered thereon.

14.      Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. and

         are discriminating against the Plaintiff due to Defendant’s failure to provide and/or

         correct, inter alia, the following barriers to access which were personally observed,

         encountered and which hindered Plaintiff’s access:

                  A. Plaintiff encountered inaccessible parking designated as accessible at the

                     outdoor parking lot due to excessive long and cross slopes;

                  B. Plaintiff encountered inaccessible parking designated as accessible on all

                     levels of parking garage due to lack of access aisles;

                  C. Plaintiff encountered inaccessible curb cut from bus stop to entrance due to

                     excessive lip in pavement;

                  D. Plaintiff encountered inaccessible slopes on route from outdoor parking lot to

                     entrance due to excessive long slopes and improper placement of sewer grates

                     on route;

                  E. Plaintiff encountered inaccessible restroom area designated as accessible due

                     to lack of pipe insulation over pipes under sinks; and

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                F. Plaintiff encountered inaccessible counters throughout the Property due to

                      excessive heights and lack of any lowered section.

15.      To date, the readily achievable barriers and other violations of the ADA still exist and

         have not been remedied or altered in such a way as to effectuate compliance with the

         provisions of the ADA.

16.      Defendant either does not have a policy to assist people with disabilities or refuse to

         enforce such a policy if it does exist.

17.      Independent of his intent to return as a patron to the Property, Plaintiff additionally

         intends to return to the Property as an ADA tester to determine whether the barriers to

         access stated herein have been remedied.

18.      Removal of the barriers to access located on the Property is readily achievable,

         reasonably feasible and easily accomplishable without placing an undue burden on

         Defendant.

19.      Removal of the barriers to access located on the Property would allow Plaintiff to fully

         utilize the goods and services located therein.

20.      The Plaintiff has been obligated to retain undersigned counsel for the filing and

         prosecution of this action.    Plaintiff is entitled to have his reasonable attorneys’ fees,

         costs, and expenses paid by Defendant.

                WHEREFORE, the Plaintiff demands judgment against DEFENDANT, and

requests the following injunctive and declaratory relief:

         A.     That the Court declares that the Properties owned and operated by

                DEFENDANT is in violation of the ADA;



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   B.    That the Court enter an Order directing DEFENDANT                 to alter

         the facility to make them accessible and useable by individuals

         with disabilities to the full extent required by Title III of the ADA;

   C.    That the Court enter an Order directing DEFENDANT to evaluate

         and neutralize their policies and procedures towards persons with

         disabilities for such reasonable time so as to allow DEFENDANT

         to undertake and complete corrective procedures.

   D.    That the Court award reasonable attorneys’ fees, costs (including

         expert fees), and other expenses of suit, to the Plaintiff; and

   E.    That the Court award such other and further relief as it deems

         necessary, just and proper.


                                Respectfully Submitted,


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